  Case 1:17-cv-03391-PAE            Document 215          Filed 03/05/25            Page 1 of 2



                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern Districto/New York




                                                     86 Chambers Street, 3rdjloor
                                                     New York; New York 10007



                                                      March 4, 2025
BYECF
The Honorable Paul A. Engelmayer
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                   Re:     ACLU et al. v. DOD et al., No. 17 Civ. 3391 (PAE)

Dear Judge Engelmayer:

        This Office represents the defendant agencies ("Defendants") in the above-
captioned lawsuit brought pursuant to the Freedom oflnformation Act ("FOIA"). We
write respectfully on behalf of all parties in response to the Court's order dated January
24, 2025 (ECF No. 213), directing the parties to provide a joint status report on the
pending issue of attorney's fees in this matter. The parties also jointly and respectfully
request an extension of the briefing deadlines entered by the Court in its January 24
order.

         Since the parties' last report, Defendants have continued to pursue the approval
process regarding a fully drafted settlement stipulation. While Defendants have made
additional progress in this regard, and the parties have conferred further about how to
achieve resolution, the process is not yet complete, for a number of reasons. First, since
the last status conference, counsel for the Government has undergone multiple medical
procedures, including a follow up surgery (and treatment for complications relating to
that surgery) that were unscheduled and unanticipated when the parties last appeared
before the Court. These unforeseen medical developments have significantly limited
counsel's ability to complete the approval process in this matter (and counsel has also
been called upon to assist with other urgent docket demands that have arisen since late
January). Further, additional personnel changes within the Government during the last
several weeks have also affected the pending approval process; for example, counsel for
one of the Defendant agencies was reassigned just this week. Counsel for the
Government is working to bring that new agency counsel up to speed immediately.

        The parties are very mindful of the Court's admonition during the last status
conference that this matter should proceed to a swift conclusion. To that end, the parties
  Case 1:17-cv-03391-PAE             Document 215         Filed 03/05/25       Page 2 of 2




continue to communicate and work together in good faith to hopefully avert the need to
seek the Court's adjudication of a fees motion, and believe that their current efforts
represent the most efficient path to resolution. In light of these circumstances, the parties
jointly and respectfully seek an extension of the briefing deadlines currently set by the
Court. Specifically, the parties request that Plaintiffs' deadline to file a motion for
attorneys' fees be extended from March 11, 2025, to April 10, 2025; and Defendants'
deadline to respond to that motion be extended from March 18, 2025, to April 17, 2025.

        The parties thank the Court for its consideration of this matter.


                                                     Respectfully,

                                                     MATTHEW PODOLSKY
                                                     Acting United States Attorney for the
                                                     Southern District of New York
                                                     Attorney for Defendants

                                               By:   Isl Rebecca S. Tinio
                                                     REBECCA S. TINIO
                                                     Assistant United States Attorney
                                                      86 Chambers Street, Third Floor
                                                     New York, NY I 0007
                                                      Tel.: (212) 637-2774
                                                     E-mail: rebecca.tinio@usdoj.gov




GRANTED. The Court wishes the Government's counsel a swift recovery.
SO ORDERED.



                   United States District Judge

Dated: March 5, 2025
       New York, New York




                                               2
